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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   ALLSTATE INSURANCE COMPANY;
   ALLSTATE INDEMNITY COMPANY;                          C.A. No. 9:23-cv-81591-DMM
   ALLSTATE FIRE AND CASUALTY
   INSURANCE COMPANY; and ALLSTATE
   PROPERTY AND CASUALTY INSURANCE
   COMPANY,

                         Plaintiffs,

   v.

   FLORIDA ANESTHESIOLOGY & PAIN
   CLINIC, P.A. and RAVI XAVIER, M.D.,

                         Defendants.


              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Pursuant to the settlement agreement between the parties, plaintiffs Allstate Insurance

  Company, Allstate Indemnity Company, Allstate Fire and Casualty Insurance Company, and

  Allstate Property and Casualty Insurance Company (collectively, “Allstate”), by and through their

  undersigned counsel, hereby voluntarily dismiss their claims in this matter without prejudice. No

  defendant has filed an answer or other responsive pleading. Accordingly, voluntary dismissal is

  permitted without stipulation or order pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

                                 [SIGNATURE PAGE FOLLOWS]




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                                    Respectfully submitted,

                                    /s/ Marc Schechter
                                    _________________________
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                                    Attorneys for Allstate

  Dated: February 20, 2024




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                                  CERTIFICATE OF SERVICE

         I, Marc Schechter, attorney for the plaintiffs, hereby certify that I have served a copy of

  the foregoing Notice of Voluntary Dismissal on all parties of record in the above-captioned matter

  via their attorney, Ryan Stumphauzer, Stumphauzer Kolaya Nadler & Sloman, PLLC, by

  electronic mail to rstumphauzer@sknlaw.com.

                                               /s/ Marc Schechter
                                               _________________________
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  Dated: February 20, 2024




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